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              Exhibit A
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                                     McGuire Law, P.C.
                                55 West Wacker Drive, 9th Floor
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                                        (312) 893-7002

                                            June 9, 2021

Via Electronic Mail
Melissa A. Siebert (masiebert@shb.com)
Amy Cho (acho@shb.com)
SHOOK, HARDY & BACON L.L.P.
111 South Wacker Drive, Suite 4700
Chicago, IL 60606
Tel: (312) 704-7700
Fax: (312) 558-1195

         Re: Fleury v. Union Pacific Railroad Company, No. 20-cv-00390 (N.D. Ill.)

Dear Melissa:

         This letter serves to remind Defendant Union Pacific Railroad Company (“Defendant”) of
its failure to respond to Plaintiff’s First Set of Interrogatories and Requests for Production of
Documents (herein “Discovery Requests”). Plaintiff served his Discovery Requests on April 5,
2021, and on April 9, the Court entered and continued the service of Plaintiff’s Discovery Requests
to the date of the Parties’ then-forthcoming Rule 26(a)(1) disclosures. (Dkt. 52.)

       At the Court’s direction, the Parties exchanged their Rule 26(a)(1) disclosures on May 6,
2021. (Dkts. 56-57.) It has been 34 days since such disclosures were exchanged and Defendant’s
responses to Plaintiff’s Discovery Requests are now several days overdue. Defendant has not
sought or been granted an extension of this deadline, or provided any reasoning as to its failure to
respond to Plaintiff’s Discovery Requests.

        Notably, Judge Alonso’s Case Procedures regarding discovery state that the pendency of a
motion does not operate as a stay of discovery. Accordingly, Defendant’s pending Motion to Stay
does not exempt Defendant from responding to Plaintiff’s Discovery Requests. Because these Case
Procedures also discourage the Parties from filing discovery motions, Plaintiff would like to
resolve the issue without seeking intervention from the Court. Please advise us of your availability
for a meet-and-confer regarding Defendant’s failure to respond to Plaintiff’s Discovery Requests.

Sincerely,

Brendan Duffner


cc:      Myles McGuire        (via email)
cc:      David L. Gerbie      (via email)
cc:      Steven Beckham       (via email)
                                                 1
